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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
               v.                             )       Criminal No. 18-10364-DPW
                                              )
JASIEL F. CORREIA II,                         )
                                              )
                     Defendant                )

 GOVERNMENT’S OPPOSITION TO DEFENDANT’S SECOND MOTION TO CONTINUE
                          SURRENDER DATE

       Since defendant Correia’s first motion to continue his surrender date (Dkt. No. 347, filed

November 17, 2021), recent developments indicate that “Omicron seems to be less severe overall

than earlier variants,” “[f]ewer people in the United States are being admitted to hospitals with the

coronavirus than a week ago,” and “hospitalizations are beginning to level off in the Northeast in

particular.” See Lauren Leatherby and Albert Sun, “Covid Hospitalizations Plateau in Some Parts

of the U.S., While a Crisis Remains in Others,” THE NEW YORK TIMES (Jan. 21, 2022). Moreover,

wastewater coronavirus testing, a method commonly used to measure rates of infection, indicate

that “[t]he latest wave of COVID-19 in Massachusetts has crested, with the number of new cases

dropping precipitously since last week, prompting even the most wary prognosticators to see a

flicker at the end of the tunnel.” See Felice J. Freyer, Kay Lazar, and Martin Finucane, “COVID-

19 cases have peaked in Massachusetts,” THE BOSTON GLOBE, Jan. 20, 2022. Despite these

indicators, defendant Correia seeks to further delay justice in this case for a minimum of 45 days

or even longer (two weeks following the close of evidence in defendant Genoveva Andrade’s trial,

currently scheduled to commence on March 7, 2022). Defendant’s motion should be denied.

       This second delay motion, however, should come as no surprise from this defendant. As

demonstrated by defendant Correia’s shameful and corrupt reign as Mayor of Fall River, Correia
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has long subscribed to the ethos that the rules that apply to everyone else do not apply to him.

CEO’s of small companies should act as fiduciaries for their investors. Not Correia. As CEO of

SnoOwl, he spent thousands of his friends’ investment in his company on a luxury car, luxury

hotels, and sex toys. See PSR ¶ 44. People that earn income should pay their share of taxes. Not

Correia. The tens of thousands of dollars he siphoned from SnoOwl for conspicuous consumption

were concealed from the IRS. See PSR ¶ 47. Mayors of our cities should only act in the interests

of their constituents.   Not Correia.    As Fall River Mayor, Correia shook down marijuana

businesses, large or small, to the tune of hundreds of thousands of dollars to feed his insatiable

greed, while his constituents were left with the collateral consequences. See PSR ¶¶ 63-107.

       Now, Correia, just another corrupt politician finally convicted of selling his office, wants

to remain at liberty while other similarly situated defendants sit in prison. See, e.g., United States

v. Brashear, 2021 WL 5239119 (D.N.J., Nov. 10, 2021) (bribery defendant, a 61 year old woman

with obesity and hypertension, denied COVID-19 compassionate release); 1 United States v. Nunez,


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          The district court provided a string cite of defendants denied early release despite
COVID-19 and health issues, id. at *3 (See, e.g., United States v Kenneth Irving Carter, Crim. No.
21-1090, 2021 WL 4916189, at *1 (3d Cir. Oct. 21, 2021) (affirming District Court decision to
deny motion for compassionate release despite defendant’s severe obesity); United States v.
Patricia Fountain, Crim. No. 21-1313, 2021 WL 4772957, at *1–2 (3d Cir. Oct. 13, 2021)
(affirming District Court decision to deny motion for compassionate release despite defendant’s
“obesity, concerning blood work levels, high serotonin levels, migraines resulting from
adrenoleukodystrophy, cognitive decline, anxiety, depression, panic attacks, and post-traumatic
stress disorder”); United States v. Troy Wragg, Crim. No. 20-3430, 2021 WL 4459455, at *1, *3
(3d Cir. Sept. 29, 2021) (affirming District Court decision to deny motion for compassionate
release despite defendant’s “obesity, seizure disorder, and hypertension”); United States v. Edward
Hicks, Crim. No. 20-3512, 2021 WL 4316829, at *1–2 (3d Cir. Sept. 23, 2021) (affirming District
Court decision to deny motion for compassionate release despite defendant’s “asthma, pre-
diabetes, hypertension, and obesity”); United States v. Tyheed Jefferson, Crim. No. 21-2020, 2021
WL 4279626, at *1, *3 (3d Cir. Sept. 21, 2021) (affirming District Court decision to deny motion
for compassionate release despite defendant’s obesity and cryptococcosis); United States v. Lee,
Crim. No. 13-56, 2021 WL 4077562, at *2–3 (D.N.J. Sept. 8, 2021) (denying motion for
compassionate release where defendant suffered from an anxiety disorder and mild hypertension);
United States v. Preschel, Crim. No. 19-00186, 2021 WL 3930716, at *2, *4 (D.N.J. Sept. 2, 2021)
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2021 WL 607079 (D. Me., Feb. 21, 2021) (denying early COVID-19 compassionate release to 37

year old defendant seeking to care for ailing mother); United States v. Martin, 2020 WL 7425333

(E.D. Ca., Dec. 18, 2020) (bribery defendant, 60 years old with hyper tension and severe

cardiovascular disease, denied COVID-19 compassionate release); (47 year old defendant,

convicted of federal funds embezzlement, with prior COVID diagnosis and seeking to care for her

minor children, denied COVID-19 compassionate release) United States v. Bruce, 2020 WL

5257599 (E.D. Ca., Sept. 3, 2020) (bribery defendant, 35 years old claiming diabetes and high

blood pressure, denied COVID-19 early release); United States v. Salter, 2020 WL 522543 (N.D.

Ga, Sept. 1, 2020) (bribery defendant with hypertension denied COVID-19 compassionate

release); United States v. Dunbar, 2020 WL 3893054 (D. Mass., Jul. 1, 2020) (defendant with

diabetes, hypertension, and history of asthma denied COVID-19 compassionate release); United

States v. Pawlowski, 2020 WL 3483740 (3d Cir., Jun. 26, 2020) (unpublished) (bribery defendant,

with one lung, hypertensive heart disease, COPD, and sleep apnea denied early compassionate

release despite COVID-19 risks); United States v. Shulick, 2020 WL 3250584 (E.D. Pa., Jun. 16,

2020) (defendant convicted of federal funds theft and filing false tax returns, with history of asthma

and pneumonia, denied COVID-19 compassionate release); United States v. Malone, 2020 WL

3026467 (D. Conn., Jun. 4, 2020) (no COVID-19 early release for 50 year old defendant with high

cholesterol and family history of heart disease); United States v. Denault, 2020 WL 2836780

(S.D.N.Y., Jun. 1, 2020) (bribery defendant, 58 years old with morbid obesity, hypertension and




(denying defendant’s motion for compassionate release despite suffering from “obstructive sleep
apnea, hypertension, diabetes, obesity, depression, and some kind of personality disorder”); United
States v. Germaine H. King, Crim. No. 18-379, 2021 WL 3783157, at *4, *5 (D.N.J. Aug. 24,
2021) (denying defendant’s motion for compassionate release where defendant is suffering from
obesity and asthma).
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hypercholesterolemia, denied COVID-19 compassionate release). Correia should be afforded no

special treatment.

       Contrary to many of the defendants listed above, Correia, who recently turned 30 years

old, presents no physical ailments that put him at any greater risk in prison for COVID-19 than

the older and more physically frail defendants already serving their debts to society. Indeed, if

Correia is apparently of sound enough health in order to run “front-of-the-house” and “back-of-

the-house” duties (“opening and closing daily, creating and managing the schedules for 18-25

employees, inventorying liquor and placing weekly orders ….”) at his family’s luxury steak house,

see Dkt. No. 299 at 10, he is hale and hearty enough to start serving his prison sentence.

       Justice delayed is justice denied. Therefore, Correia’s delay tactics should be rejected. The

citizens of Fall River deserve to close the chapter on Correia’s sordid exploits. Therefore, and for

all the foregoing reasons, the government opposes defendant’s second Motion to Continue

Surrender Date (Dkt. No. 383).




                                              Respectfully submitted,

                                              RACHAEL S. ROLLINS
                                              United States Attorney


                                         By: /s/ Dustin Chao
                                             DUSTIN CHAO
                                             DAVID G. TOBIN
                                             Assistant U.S. Attorneys




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                                      Certificate of Service

        I certify that, on January 22, 2022, this document was sent electronically to the registered
participants as identified on the Notice of Electronic Filing (NEF).

                                              /s/ Dustin Chao
                                              Dustin Chao




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